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11
12                                UNITED STATES BANKRUPTCY COURT
13                                 SOUTHERN DISTRICT OF CALIFORNIA
14
15 In re                                                    Case No. 22-bk-01558-CL11
16 PETER SZANTO,                                            JPMORGAN CHASE BANK, N.A.’S
                                                            MEMORANDUM OF POINTS AND
17                                      Debtor.             AUTHORITIES IN SUPPORT OF
                                                            MOTION FOR RELIEF FROM
18                                                          STAY UNDER 11 U.S.C. § 362(d)(1)
                                                            AND FOR IN REM RELIEF UNDER
19                                                          11 U.S.C. § 362(d)(4)
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2                                               INTRODUCTION
 3            Creditor JPMorgan Chase Bank, N.A. seeks (1) an order terminating the
 4 automatic stay for cause because debtor Peter Szanto—a serial and vexatious
 5 litigant in California and in the Ninth Circuit—filed this bankruptcy in a bad faith
 6 attempt to frustrate foreclosure, and (2) in rem relief to bar further efforts to use the
 7 bankruptcy courts to stall foreclosure. Szanto defaulted on his Loan from Chase
 8 thirteen years ago. His default remains uncured, and he owes Chase more than
 9 $2 million on a Loan secured by a Deed of Trust on a Property in Newport Beach.
10 To avoid foreclosure of the Property, Debtor has filed at least four bankruptcy
11 petitions, one adversary claim, one civil lawsuit, a petition for a temporary
12 restraining order in a pending probate matter, and dozens of motions in any forum
13 willing to entertain them. He filed this petition on June 10, 2022, within ninety
14 minutes after the Ninth Circuit denied his “emergency” request to stay the
15 scheduled June 13 foreclosure, and minutes after the District of Oregon denied a
16 similar request. All the while, Szanto’s 2016 District of Oregon bankruptcy
17 remains pending, after the Bankruptcy Court converted his Chapter 11 case to
18 Chapter 7 due to Szanto’s repeated false statements. He has successfully thwarted
19 foreclosure for over a decade. The Court should terminate the stay and provide in
20 rem relief for the following reasons:
21            First, under 11 U.S.C. § 362(d)(1), Szanto filed his current petition in bad
22 faith, justifying relief from stay.
23            Second, the Court should award in rem relief under 11 U.S.C. § 362(a)(4)
24 because Szanto has engaged in a scheme to hinder and delay foreclosure through
25 the filing of multiple bankruptcy petitions and serial frivolous litigation. This relief
26 would bar Szanto from obtaining an automatic stay in connection with the Property
27 for a two-year period.
28                                                    1                             22-bk-01558-CL11
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 1            The Court should end Szanto’s misuse of the bankruptcy system and allow
 2 Chase to enforce its security interest in the Property.
 3                                        FACTUAL BACKGROUND
 4            Szanto is a serial and vexatious litigant, subject to pre-filing review in the
 5 Ninth Circuit and in the state of California. See In re Szanto, BAP No. OR-20-
 6 1106-TLB, 2021 WL 1329435, *6-*7 & n. 10 (9th Cir. B.A.P. April 1, 2021); see
 7 also https://www.courts.ca.gov/documents/vexlit.pdf. “Szanto is not an ordinary
 8 pro se debtor. This is his [fourth] bankruptcy case; he has a master’s degree in
 9 business administration with a specialty in accounting and a law degree; and he is a
10 serial litigant and a party to at least fifteen cases nationwide.” In re Szanto, 2012
11 WL 1329435 at *1 n.2. The factual and procedural background of this case is
12 complex, reflecting Szanto’s decision to litigate in several forums over several years
13 in his attempt to avoid paying his debt to Chase.
14            A.        The Loan and the Property.
15            In October 2003, Szanto obtained a loan from Washington Mutual Bank, FA
16 (“WaMu”) in the amount of $1,000,000.00 (“Loan”), secured by a deed of trust
17 against property located at 11 Shore Pine Drive in Newport Beach, California.
18 Freed Dec. ¶ 9 & Ex. 8 (attaching In re Peter Szanto, D. Or. Bk. No. 16-33185-
19 pcm7, Claim 6-1);1 see also Dkt. 1-2 at 9 (listing chase as a secured creditor). In
20 2008, after WaMu failed and was taken into FDIC receivership, Chase acquired
21 WaMu’s assets from the FDIC. See Freed Dec. ¶ 10 & Ex. 9 (attaching Szanto v.
22
23
     1
24     For docket entries not available on Westlaw, Chase attaches documents to the
     concurrently-filed declaration of Jake Freed. Initial citations will provide the case
25   number and docket number; subsequent citations will cite only the Freed
26   declaration. All of the documents are publicly-available documents subject to
     judicial notice. See, e.g. Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741,
27   746 n.6 (9th Cir. 2006) (the court “may take judicial notice of court filings and
28   other matters of public record”).
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 1 JP Morgan Chase Bank, NA, Case No. 3:18-cv-939-SI (D. Or.), Dkt. 98) at 10; see
 2 also Rundgren v. Wash. Mut. Bank, FA, 760 F.3d 1056, 1059 (9th Cir. 2014).
 3            B.        Szanto’s Prior Bankruptcies and History of False Statements.
 4            Szanto’s District of Oregon bankruptcy petition (which remains pending) was
 5 his third such petition. Szanto previously filed bankruptcy petitions in the District
 6 of Nevada and the Central District of California, both of which were dismissed
 7 without a discharge, and the latter of which included a six-month bar on subsequent
 8 bankruptcy petitions. See Freed Dec. ¶ 11 & Ex. 10 (attaching In re Szanto, Case
 9 No. 8:13-bk-11148-CB, Dkt. 87 (C.D. Cal. 2013)); Freed Dec. ¶ 12 & Ex. 11
10 (attaching In re Szanto, Case No. 13-51261-gwz, Dkt. 268 (D. Nev. 2014)). In the
11 Nevada bankruptcy, Szanto persuaded the bankruptcy court to approve a purported
12 “settlement” between himself and Chase which was actually a letter “informing
13 [Szanto] of an impending adjustment of his monthly payments on his adjustable-
14 rate mortgage.” In re Szanto, 2015 WL 6872473, *1 (D. Nev. 2015). The letter
15 was not a settlement agreement, was never signed by Chase, and Szanto never
16 served Chase with the motion to approve the “settlement,” so the bankruptcy court
17 set aside its approval. Id. After Szanto appealed, the district court affirmed,
18 remarking that the letter “was not an offer of compromise but an informational
19 letter indicating the status of Appellant’s mortgage. There is no language of
20 compromise whatsoever in the Letter, or even any acknowledgment of any dispute
21 to be compromised.” Id. at *2. The district court admonished Szanto’s “history of
22 filing false documents (settlements and notices of plan confirmation) in the
23 bankruptcy court.” Id. at *3.
24            In his District of Oregon bankruptcy, after converting his case to a Chapter 7,
25 the bankruptcy court denied Szanto discharge, in part because he made materially
26 false statements in his bankruptcy filings, and in part because the court found
27 Szanto in contempt for refusing to sign forms necessary for the trustee to obtain
28                                                    3                             22-bk-01558-CL11
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 1 estate property Szanto had transferred abroad in violation of the bankruptcy court’s
 2 orders. In re Szanto, 2021 WL 1329435, *3-*5 & n.7 (9th Cir. B.A.P. 2021). In
 3 affirming the bankruptcy court’s denial of discharge, the Bankruptcy Appellate
 4 Panel stated “Szanto made numerous knowing, fraudulent, and materially false
 5 oaths in his Schedules, SOFA, MORs, and in his meeting of creditors testimony….
 6 The bankruptcy court's determination that Szanto knowingly and fraudulently
 7 withheld financial information…is abundantly supported by the record.” Id.
 8            C.        Szanto’s Default and His Claims Against Chase.
 9            Szanto defaulted on the Loan in 2009. Freed Dec. ¶ 10 & Ex. 9 at 16-20
10 (affirming the bankruptcy court’s acceptance of Chase’s secured claim in the
11 underlying bankruptcy); see also Freed Dec. ¶ 9 & Ex. 8.
12            In January 2016, after being in default on his loan for several years, Szanto
13 filed his bankruptcy petition in the District of Oregon and then filed an adversary
14 proceeding against Chase. See generally Freed Dec. ¶ 10 & Ex. 9 at 4-7. Szanto’s
15 Second Amended Complaint alleged that as part of settling a previous lawsuit
16 against Chase (related to investment losses in WaMu securities), Chase and Szanto
17 agreed to reduce the total amount owed on his loan to $1,000,000. See id. at 9-10.
18            Chase moved to dismiss the adversary proceeding, and the bankruptcy court
19 dismissed Szanto’s claims with prejudice for failure to state a claim. On appeal, the
20 District Court agreed, reasoning that on its face, the 2012 settlement agreement
21 between Szanto and Chase unambiguously did not compromise his Loan to
22 $1,000,000. Id. at 12. Szanto appealed that affirmance to the Ninth Circuit, and his
23 opening brief is due on July 1, 2022. Freed Dec. ¶ 13 & Ex. 12 (attaching Szanto v.
24 United States Trustee’s Office, Case No. 20-36086 (9th Cir.), Dkt. 19).
25            D.        The Foreclosure.
26            In the District of Oregon bankruptcy, Chase obtained relief from the
27 bankruptcy stay, and the bankruptcy trustee abandoned the property securing
28                                                    4                             22-bk-01558-CL11
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 1 Szanto’s Loan as an asset of the bankruptcy estate. See Freed Dec. ¶ 14 & Ex. 13
 2 (attaching In re Peter Szanto, D. Or. Bk. No. 16-33185-pcm7, Dkt. 1225 (Order
 3 denying Szanto’s motion to void the recorded notice of default and notice of sale)).
 4 As a result, in September 2021, the Trustee of the Deed of Trust recorded and
 5 served a Notice of Default, and on December 9, 2021, recorded a Notice of
 6 Trustee’s sale, setting a sale for January 10, 2021. See id.2 The bankruptcy court
 7 denied Szanto’s motion to vacate those notices. Id.
 8            Szanto next sought to delay foreclosure by use of the mortgage assistance
 9 review process. He submitted an application for mortgage assistance in October
10 2021, but that application was not complete until December 22, 2021—a fact about
11 which Chase and the Trustee of the Deed of Trust promptly informed Szanto. See
12 Freed Dec. ¶ 15 & Ex. 14 (attaching Szanto v. JP Morgan Chase Bank, NA, Case
13 No. 3:18-cv-939-SI (D. Or.), Dkt. 111). After Szanto provided a complete
14 application, the Trustee postponed the scheduled sale to February 14, 2022 and
15 informed Szanto of the postponement. See id.; see also Freed Dec. ¶ 16 & Ex. 15
16 (attaching Szanto v. JP Morgan Chase Bank, NA, Case No. 3:18-cv-939-SI (D. Or.),
17 Dkt. 112).3 On January 6, 2022, Chase informed Szanto of the result of his
18 application for mortgage assistance. Freed Dec. ¶¶ 17-18 & Exs. 16-17 (attaching
19
20
21
     2
       Szanto’s latest filing—an ex parte motion in this Court for a declaration that the
22
     stay remains in effect, Dkt. 14—blames Chase for not foreclosing earlier, but
23   ignores that (1) Szanto sought reinstatement of the stay; (2) Szanto sought mortgage
24   assistance; and most importantly (3) the COVID-19 pandemic arose, delaying
     foreclosures nationwide.
25   3
       The trustee’s sale has since been rescheduled as a result of Szanto’s other filings,
26   discussed below. Most recently, the sale was scheduled for June 13, 2022. See,
     e.g., Freed Dec. ¶ 20 & Ex. 19 (attaching Szanto v. JP Morgan Chase Bank, NA,
27   Case No. 3:18-cv-939-SI (D. Or.), Dkt. 124 (Szanto’s motion reciting the scheduled
28   foreclosure date)).
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 1 Szanto v. JP Morgan Chase Bank, NA, Case No. 3:18-cv-939-SI (D. Or.), Dkt. 116
 2 & Dkt. 116-1).
 3            E.        Szanto’s Repeated Attempts to Frustrate Foreclosure.
 4            Before moving in the District of Oregon (three times) to enjoin aspects of the
 5 Trustee’s sale, Szanto sought aid of the District of Oregon bankruptcy court,
 6 seeking to “void” the Trustee’s recorded notices. See Freed Dec. ¶ 14 & Ex. 13.
 7 The bankruptcy court denied Szanto’s request. Id. Undeterred, Szanto filed a new
 8 case in the Central District of California against the Trustee (but not Chase) seeking
 9 to “expunge” the recorded documents. Freed Dec. ¶ 19 & Ex. 18 (attaching docket
10 in Szanto v. Quality Loan Serv., C.D. Cal. No. 8:21-cv-01948-JLS-DFM). After
11 requiring Szanto to file a cognizable claim, the Court required Szanto to show cause
12 why it should not dismiss his case for failing to serve the defendant. Id. That case
13 remains pending, and Chase suspects Szanto will seek emergency injunctive relief
14 there if he fails in his other efforts to stymie foreclosure.
15            Szanto filed his first motion to prevent foreclosure in the District of Oregon
16 on January 3, 2022, contending he needed emergency relief because the Trustee did
17 not record its notice of postponement. Freed Dec. ¶ 21 & Ex. 20 (Szanto v. JP
18 Morgan Chase Bank, NA, Case No. 3:18-cv-939-SI (D. Or.), Dkt. 109). After
19 Chase responded—explaining there is no requirement to record a postponement
20 notice and there was no likelihood of success on the merits, Freed Dec. ¶ 22 &
21 Ex. 21 (attaching Szanto v. JP Morgan Chase Bank, NA, Case No. 3:18-cv-939-SI
22 (D. Or.), Dkt. 110)—Szanto withdrew his motion. Freed Dec. ¶ 23 & Ex. 22
23 (attaching Szanto v. JP Morgan Chase Bank, NA, Case No. 3:18-cv-939-SI (D. Or.),
24 Dkt. 113).
25            His second motion sought to “enjoin[] Chase’s foreclosure efforts during the
26 Appeal.” Freed Dec. ¶ 24 & Ex. 23 (attaching Szanto v. JP Morgan Chase Bank,
27 NA, Case No. 3:18-cv-939-SI (D. Or.), Dkt. 114) at 5. Szanto admitted his motion
28                                                     6                            22-bk-01558-CL11
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 1 sought leverage in his decade-plus attempt to reduce his debt to Chase, stating an
 2 injunction “aids, motivates and empowers both sides towards speedily concluding
 3 and agreeing to a loan modification, compromise, and settlement.” Id.; see also id.
 4 at 4 (“[R]estraint of foreclosure…provid[es] Appellees good motivation to attempt
 5 to fashion at least an interim compromise to this dispute.”). The district court
 6 denied that motion, rejecting each of the bases Szanto advanced as to likelihood of
 7 success on the merits. Freed Dec. ¶ 25 & Ex. 24 (attaching Szanto v. JP Morgan
 8 Chase Bank, NA, Case No. 3:18-cv-939-SI (D. Or.), Dkt. 120).
 9            The next day, on February 9, 2022, Szanto filed an “emergency” motion
10 asking the district court to stay foreclosure so he could request to the Ninth Circuit
11 to stay the appeal. Freed Dec. ¶ 26 & Ex. 25 (attaching Szanto v. JP Morgan Chase
12 Bank, NA, Case No. 3:18-cv-939-SI (D. Or.), Dkt. 121) at 3. In addition, Szanto
13 claimed to have new funding to refinance his debt. Id. at 4. The same day (before
14 Chase had an opportunity to oppose the request), the district court granted Szanto’s
15 request and stayed foreclosure for 14 days. Freed Dec. ¶ 27 & Ex. 26 (attaching
16 Szanto v. JP Morgan Chase Bank, NA, Case No. 3:18-cv-939-SI (D. Or.), Dkt. 122).
17 Szanto did not use the 14 days to file a motion with the Ninth Circuit, nor did he
18 refinance his debt.
19            What Szanto did not tell the district court—or Chase—was that
20 simultaneously with his request for an emergency stay in the District of Oregon,
21 Szanto was pursing an ex parte temporary restraining order in a California probate
22 court, where Szanto acts as the administrator of his late wife’s estate. See Freed
23 Dec. ¶ 3 & Ex. 2 (attaching Szanto’s Proof of Service of Order); see also Freed
24 Dec. ¶ 2 & Ex. 1 (attaching the California probate docket). Szanto first sought that
25 ex parte relief on February 4, 2022, and he obtained an order restraining the sale
26 until April 27, 2022, when the California probate court would “decide[]…the
27 validity of the foreclosure.” Id. He only named and served the trustee of the Deed
28                                                     7                            22-bk-01558-CL11
     MEMO ISO MOTION FOR COMFORT ORDER UNDER                                   DAVIS WRIGHT TREMAINE LLP
     11 U.S.C. § 362(j) AND FOR IN REM RELIEF UNDER                            505 MONTGOMERY STREET, SUITE 800
                                                                                  SAN FRANCISCO, CA 94111-6533
     11 U.S.C. §§ 362(d)(4) & 105(a)                                                      (415) 276-6500
                                                                                        Fax: (415) 276-6599
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 1 of Trust in that action (not Chase), and obtained the TRO on the basis of a false
 2 representation that he had a pending application for loan modification. See id. He
 3 then caused the probate court to extend the TRO by falsely representing that the
 4 second-position lienholder on the Property had paid off Szanto’s debt to Chase.
 5 After 3.5 months of litigation over the propriety of injunctive relief, the probate
 6 court denied Szanto’s request to extend its evidentiary hearing, and the TRO
 7 expired. Szanto has tried to appeal the probate court’s minute order denying his
 8 request for continuance and setting a hearing for June 9, 2022, but that appeal is
 9 frivolous and is not an appeal of a final order. See Freed Dec. ¶ 7 & Ex. 6
10 (attaching Szanto’s notice of appeal); see also Cal. Code Civ. Proc. § 904.1 (listing
11 appealable orders). Nevertheless, on June 7, 2022, Szanto filed an “emergency”
12 motion in his appeal from the non-final California probate court order, asking the
13 California Court of Appeal to vacate the scheduled sale. Freed Dec. ¶ 8 & Ex. 7
14 (attaching the “emergency” motion). The California Court of Appeal denied that
15 motion, while simultaneously staying the appeal to determine whether it could
16 proceed in light of Szanto’s vexatious litigant status and the apparent non-
17 appealability of the probate court’s interlocutory order. Freed Dec. ¶ 28 & Ex. 27
18 (attaching the California Court of Appeal Docket).
19            While enjoying the TRO from the California probate Court, Szanto filed two
20 additional motions to enjoin foreclosure. First, Szanto filed a motion in the Ninth
21 Circuit. Freed Dec. ¶ 29 & Ex. 28 (attaching Szanto v. United States Trustee’s
22 Office, Case No. 20-36086 (9th Cir.), Dkt. 13). Second, Szanto also sought relief
23 (again) in the District of Oregon. Freed Dec. ¶ 20 & Ex. 19 (attaching Szanto v. JP
24 Morgan Chase Bank, NA, Case No. 3:18-cv-939-SI (D. Or.), Dkt. 124). On
25 June 10, 2022, at 11:14 AM, the Ninth Circuit denied Szanto’s motion. Freed Dec.
26 ¶ 13 & Ex. 12. Minutes later, the District of Oregon denied Szanto’s motion. Freed
27 Dec. ¶ 30 & Ex. 29 (attaching Szanto v. JPMorgan Chase Bank, NA, Case No. 3:18-
28                                                     8                            22-bk-01558-CL11
     MEMO ISO MOTION FOR COMFORT ORDER UNDER                                   DAVIS WRIGHT TREMAINE LLP
     11 U.S.C. § 362(j) AND FOR IN REM RELIEF UNDER                            505 MONTGOMERY STREET, SUITE 800
                                                                                  SAN FRANCISCO, CA 94111-6533
     11 U.S.C. §§ 362(d)(4) & 105(a)                                                      (415) 276-6500
                                                                                        Fax: (415) 276-6599
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 1 cv-939 (D. Or.), Dkt. 126). Those denials left the foreclosure scheduled for
 2 June 13, 2022, free to proceed.
 3            F.        This Bankruptcy.
 4            Within 90 minutes of receiving the Ninth Circuit’s order denying his motion
 5 to enjoin the June 13 foreclosure, Szanto filed this bankruptcy. Dkt. 1-2. His
 6 bankruptcy petition contains false attestations and is incomplete on its face. See
 7 Dkt. 1 (listing deficiencies). Szanto filed his latest petition under the penalty of
 8 perjury, and in that petition, states both that he lives at 4484 Dulin Place in
 9 Oceanside, California, Dkt. 1-2 at 2, and that he has lived in this district longer than
10 in any other district over the last 180 days, id. These statements are either false, or
11 Szanto has repeatedly lied to the Ninth Circuit and the District of Oregon in his
12 efforts to avoid foreclosure. In those proceedings, he has repeatedly sworn that he
13 lives at 11 Shore Pine Drive in Newport Beach, California, and that if Chase is
14 allowed to proceed with foreclosure, he will become instantly homeless. See Freed
15 Dec. ¶ 13 & Ex. 12 at 11 (on June 9, 2022 stating Szanto “resides” at his home in
16 Newport Beach and that he “has no place to move were he to lose his home”); id. at
17 13 (claiming he will become “homeless” if foreclosure proceeds); Freed Dec. ¶ 20
18 & Ex. 19 (making identical representations). These statements are irreconcilable,
19 but unfortunately consistent with Szanto’s repeated false statements under oath, his
20 refusal to follow orders of the Oregon Bankruptcy Court, and his status as a
21 vexatious litigant.
22                                                  ARGUMENT
23            Chase requests two forms of relief: (a) relief from stay for cause under
24 11 U.S.C. § 362(d)(1); and (b) in rem relief under 11 U.S.C. §§ 362(d)(4). The
25 Court should grant both requests, for the reasons explained below.
26
27
28                                                     9                            22-bk-01558-CL11
     MEMO ISO MOTION FOR COMFORT ORDER UNDER                                   DAVIS WRIGHT TREMAINE LLP
     11 U.S.C. § 362(j) AND FOR IN REM RELIEF UNDER                            505 MONTGOMERY STREET, SUITE 800
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     11 U.S.C. §§ 362(d)(4) & 105(a)                                                      (415) 276-6500
                                                                                        Fax: (415) 276-6599
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 1            A.        Szanto’s Current Filing is in Bad Faith, Justifying Relief From
 2                      Stay Under 11 U.S.C. § 362(d)(1).
 3            “The abusive filing of bankruptcy petitions, motions, and adversary
 4 proceedings for purposes other than as allowed by law diminishes the quality of and
 5 respect for the judicial system and laws of this country.” In re Singh, 551 B.R. 54,
 6 71 (Bankr. E.D. Cal. 2016). To address bad faith filings, the Court has the authority
 7 under 11 U.S.C. § 362(d)(1) to terminate the automatic bankruptcy stay “for cause,”
 8 which includes circumstances where the debtor filed his petition in bad faith. In re
 9 Arnold, 806 F.2d 937, 939 (9th Cir. 1986) (“The debtor’s lack of good faith in filing
10 a bankruptcy petition provides cause for lifting the automatic stay under
11 11 U.S.C. § 362(d)(1).”). Good faith “depends on the circumstances presented. No
12 one evidentiary fact can be given paramount weight in deciding the question. If it is
13 obvious that a debtor is attempting unreasonably to deter and harass creditors in
14 their bona fide efforts to realize upon their securities, good faith does not exist.” In
15 re Thirtieth Place, Inc., 30 B.R. 503, 505 (9th Cir. B.A.P. 1983) (citation omitted).
16       In finding a lack of good faith, courts have emphasized an intent to
         abuse the judicial process and the purposes of reorganization
17       provisions…[p]articularly when there is no possibility of an effective
         reorganization and it is evident that the debtor seeks merely to delay or
         frustrate the legitimate efforts of secured creditors to enforce their
18       rights.
19 In re Mense, 509 B.R. 269, 277 (Bankr. C.D. Cal. 2014) (citation omitted).
20 “Ultimately, ‘[t]he test is whether the debtor is attempting to unreasonably deter and
21 harass creditors or attempting to effect a speedy, efficient reorganization on a
22 feasible basis.” Id. The bad faith determination is within the Court’s discretion. Id.
23 Here, Szanto’s purpose is plain—he filed this bankruptcy solely to “deter and
24 harass” Chase and delay Chase’s long-awaited foreclosure, and the Court should
25 grant Chase relief for the following reasons:
26
27
28                                                     10                           22-bk-01558-CL11
     MEMO ISO MOTION FOR COMFORT ORDER UNDER                                   DAVIS WRIGHT TREMAINE LLP
     11 U.S.C. § 362(j) AND FOR IN REM RELIEF UNDER                            505 MONTGOMERY STREET, SUITE 800
                                                                                  SAN FRANCISCO, CA 94111-6533
     11 U.S.C. §§ 362(d)(4) & 105(a)                                                      (415) 276-6500
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 1            First, Szanto has not made a payment in years. “[A] debtor’s persistent
 2 failure to make payments, standing alone, may constitute adequate cause for relief
 3 from the stay.” In re Aguilar, 2014 WL 6981285, *4 (9th Cir. B.A.P. 2014).
 4            Second, the timing of this filing—within minutes of the District of Oregon
 5 denying Szanto’s last gasp effort to stave off foreclosure—indicates bad faith. Cf.
 6 In re Blas, 614 B.R. 334, 342-43 (Bankr. D. Alaska 2019) (finding the timing of
 7 filing “further evidence an attempt to unreasonably deter and harass” a creditor
 8 where the debtor “filed this bankruptcy case the same day the Superior Court issued
 9 its order denying his request for injunctive relief”).
10            Third, Szanto’s petition is frivolous and false on its face. He does not live in
11 Oceanside, California. Freed Dec. ¶ 12 & Ex. 12 at 11 (on June 9, 2022 stating
12 Szanto “resides” at his home in Newport Beach and that he “has no place to move
13 were he to lose his home”); id. at 13 (claiming he will become “homeless” if
14 foreclosure proceeds). Cf. In re Gilliam, 2005 WL 6960202, *7-*8 (9th Cir. B.A.P.
15 2005) (affirming dismissal for bad faith filing where debtor “made false and
16 misleading statements in his petition”). He does not identify any business that he
17 actually conducts that could lead to successful re-organization, and his previous
18 attempt to file under Chapter 11 led to conversion to Chapter 7. Cf. In re Mense,
19 509 B.R. at 277 (assessing bad faith “depends largely upon the bankruptcy court’s
20 on-the-spot evaluation of the debtor’s financial condition, motives, and the local
21 financial realities”); see also id. at 282 (finding debtor filed Chapter 11 in bad faith
22 where “[h]is chapter 11 petition was not filed to preserve the status of an ongoing
23 business or to protect the employees and creditors of a business”). If Szanto were at
24 all serious about reorganizing, his District of Oregon Chapter 11 would not have
25 been converted and would not remain pending to this day. In addition, as this Court
26 has already recognized, Szanto’s petition is incomplete. See Dkt. 1 (listing
27 deficiencies in petition). Cf. In re Rub, 1990 WL 1239790, *1` (Banrk. D. N.D.
28                                                     11                           22-bk-01558-CL11
     MEMO ISO MOTION FOR COMFORT ORDER UNDER                                   DAVIS WRIGHT TREMAINE LLP
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                                                                                  SAN FRANCISCO, CA 94111-6533
     11 U.S.C. §§ 362(d)(4) & 105(a)                                                      (415) 276-6500
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 1 1990) (reciting grant of relief from stay for bad faith filing where bankruptcy was
 2 filed “on the eve of a foreclosure trial” and the petition was “wholly incomplete and
 3 lacking schedules”); In re Gibson, 355 B.R. 807, 812-13 (Bankr. E.D. Cal. 2006)
 4 (terminating automatic stay for bad faith when petitioner filed new case prior to
 5 discharge in pending Chapter 7 case).
 6            Fourth, Szanto has repeatedly sought to attack Chase’s rights—for ten
 7 years—and his “repeated refusal to acknowledge the courts’ rejection of his
 8 arguments against…foreclosure evidences an intent to unreasonably deter and
 9 harass [Chase], and is further proof of his bad faith in pursuing this case.” In re
10 Blas, 614 B.R. at 343. Szanto has been litigating—and losing—for a decade. He
11 has filed false “settlements” with the courts attempting to cram down his debt, he
12 brought and appealed an unsuccessful adversary claim contending Chase had
13 compromised his debt, and he has now filed four bankruptcies in an attempt to
14 avoid his obligations. Enough.
15            B.        The Court Should Grant In Rem Relief Under
16                      11 U.S.C. §§ 362(d)(4).
17            11 U.S.C. §§ 362(d)(4) provides a remedy against debtors that “have resorted
18 to filing tactical, serial bankruptcy cases to prevent creditors from enforcing liens
19 against their property.” In re Alakozai, 499 B.R. 698, 702 (9th Cir. BAP 2013).
20 Because Szanto’s serial bankruptcy filings evidence a scheme to delay and hinder
21 Chase’s foreclosure, the Court should grant in rem relief to prevent Szanto “from
22 filing another bankruptcy case to reimpose the stay and frustrate [Chase’s]
23 enforcement efforts.” Id. at 703.4
24
25
26   4
    Regardless whether the Court grants Chase relief from the automatic stay on the
27 present motion, Chase asks for in rem relief to prevent Szanto from obtaining an
28 automatic stay in connection with any future
                                           12
                                                 bankruptcy petitions.
                                                                       22-bk-01558-CL11
     MEMO ISO MOTION FOR COMFORT ORDER UNDER                                   DAVIS WRIGHT TREMAINE LLP
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                                                                                  SAN FRANCISCO, CA 94111-6533
     11 U.S.C. §§ 362(d)(4) & 105(a)                                                      (415) 276-6500
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 1            Section 362(d)(4) “permits the bankruptcy court to grant so-called ‘in rem’
 2 relief from the automatic stay to the creditor to address schemes using bankruptcy
 3 to thwart legitimate foreclosure efforts through…multiple bankruptcy filings
 4 affecting the subject in rem property.” Alakozai, 499 B.R. at 702. That statute
 5 provides:
 6       On request from a party in interest and after notice and a hearing, the
         court shall grant relief from the [automatic] stay…such as by
 7       terminating, annulling, modifying, or conditioning such stay…(4) with
         respect to a stay of an act against real property . . . by a creditor whose
         claim is secured by an interest in such real property, if the court finds
 8       that the filing of the petition was party of a scheme to delay, hinder, or
         defraud creditors that involved…(B) multiple bankruptcy filings
 9       affecting such real property.
10 11 U.S.C. § 362(d)(4)(B). A creditor seeking relief under this provision “must
11 prove that (1) the debtor engaged in a scheme, (2) to delay, hinder or defraud the
12 creditor, and (3) which involved either the transfer of property without the
13 creditor’s consent or court approval or multiple filings.” Alakozai, 499 B.R. at 703.
14 “If proven, the bankruptcy court may enter an order authorizing the creditor relief
15 from the stay that is ‘binding in any other case under this title purporting to affect
16 such real property filed not later than 2 years after the date of the entry of such
17 order by the court.’” Id. (quoting 11 U.S.C. § 362(d)(4)). The Court should do so
18 here, for the following reasons:
19            First, Chase is a “party in interest” due to its undisputed status as a creditor
20 with a secured interest in the Property.
21            Second, Debtor has engaged in a ten-year-long scheme to delay and hinder
22 Chase’s efforts to foreclose on the Property. A “scheme is an intentional construct.
23 It does not happen by misadventure or chance.” In re Jimenez, 613 B.R. 537, 545
24 (9th Cir. BAP 2020); see also, e.g., In re Lee, 497 B.R. at 920 (“a court may infer
25 an intent to infer or delay from serial bankruptcy filings if the debtor sought
26 repeated bankruptcy protection for the sole purpose of stopping foreclosure
27 actions”). Debtor’s foreclosure-delay scheme consists of the following:
28                                                     13                           22-bk-01558-CL11
     MEMO ISO MOTION FOR COMFORT ORDER UNDER                                   DAVIS WRIGHT TREMAINE LLP
     11 U.S.C. § 362(j) AND FOR IN REM RELIEF UNDER                            505 MONTGOMERY STREET, SUITE 800
                                                                                  SAN FRANCISCO, CA 94111-6533
     11 U.S.C. §§ 362(d)(4) & 105(a)                                                      (415) 276-6500
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 1            (1)       Szanto filed his first bankruptcy in February 2013 in the Central
 2 District of California. Freed Dec. Freed Dec. ¶ 31 & Ex. 30 (attaching the docket
 3 for In re Szanto, Case No. 8:13-bk-11148-CB (Bankr. C.D. Cal.)). In that case,
 4 Chase objected to Szanto’s plan because it did not provide for any pre-petition
 5 arrears and because the plan did not clearly provide for Chase’s secured claim.
 6 Freed Dec. ¶32 & Ex. 31 (attaching Chase’s objection). The bankruptcy court
 7 dismissed that bankruptcy without a discharge. See Freed Dec. ¶ 33 & Ex. 32
 8 (attaching In re Szanto, Case No. 8:13-bk-11148-CB (Bankr. C.D. Cal.), Dkt. 87).
 9            (2)       Debtor filed his second bankruptcy in June 2013 in the District of
10 Nevada. See In re Szanto, 2015 WL 6872473, *1 (D. Nev. 2015). Shortly after
11 filing that bankruptcy, Szanto filed a false “settlement”—without serving Chase—
12 that purported to compromise his Loan. See id. at *2. The bankruptcy court
13 ultimately set-aside the fake “settlement” and dismissed the bankruptcy because
14 Szanto failed to obtain confirmation of a plan. Id. at *3. The district court and then
15 the Ninth Circuit affirmed both orders. In re Szanto, 703 Fed. App’x 581, 581-82
16 (9th Cir. 2017) (mem. op.).
17            (3)       Debtor filed his third bankruptcy in the District of Oregon in August
18 2016. Freed Dec. ¶ 34 & Ex. 33 (attaching docket from In re Szanto, Case No. 16-
19 33185-pcm7 (Bankr. D. Or.)). The Court in that case converted Szanto’s
20 bankruptcy to a Chapter 7 due to both Szanto’s false statements and his
21 contemptuous refusal to follow the court’s orders. See In re Szanto, 2021 WL
22 1329435, *3-*5 & n.7 (9th Cir. B.A.P. 2021). That court has denied Szanto
23 discharge, id., and the case remains pending. That Court rejected Szanto’s efforts to
24 stymie foreclosure, denying his motion to “vacate” the notices recorded in the
25 beginning of this year. Freed Dec. ¶ 14 & Ex. 13 (Order denying Szanto’s motion
26 to void the recorded notice of default and notice of sale).
27
28                                                     14                           22-bk-01558-CL11
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                                                                                  SAN FRANCISCO, CA 94111-6533
     11 U.S.C. §§ 362(d)(4) & 105(a)                                                      (415) 276-6500
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 1            (4)       Debtor filed an adversary claim against Chase in September 2016,
 2 falsely claiming that Chase had previously “settled” his debt in conjunction with an
 3 agreement resolving litigation related to Szanto’s ownership of Washington Mutual
 4 securities. See generally In re Szanto, 2020 WL 6531913 (D. Or. 2020) (affirming
 5 the bankruptcy court’s dismissal with prejudice of Szanto’s adversary claims
 6 against Chase). The district court affirmed the bankruptcy court's conclusion that
 7 the agreement Szanto contended reduced his debt to Chase “unambiguous[ly]” did
 8 not compromise his debt. See id. at *6 (“Indeed, the settlement agreement states the
 9 opposite when it expressly carves out Szanto’s residential loan…from the scope of
10 the settlement agreement.”). Szanto appealed that ruling to the Ninth Circuit, but
11 both the District Court and the Ninth Circuit have concluded Szanto is unlikely to
12 prevail on the merits of his appeal. Freed Dec. ¶ 13 & Ex. 12; Freed Dec. ¶ 30 &
13 Ex. 29. In related motions practice, both the Oregon District Court and the Ninth
14 Circuit denied Szanto’s motions to stay foreclosure. Id.
15            (5)       In November 2021, Szanto filed a case against the Trustee—but not
16 Chase—in the Central District of California, seeking to require the Trustee to
17 expunge the recorded documents supporting foreclosure. Freed Dec. ¶ 19 & Ex. 18.
18 In that case, Szanto candidly admitted “[t]his case was commenced to stop
19 foreclosure of plaintiff’s residence.” Freed Dec. ¶ 35 & Ex. 34 (attaching Szanto v.
20 Quality Loan Serv., C.D. Cal. No. 8:21-cv-01948-JLS-DFM, Dkt. 20) at 1.5
21            (6)        In February 2022, Szanto sought and received a months-long TRO
22 (without any notice to Chase) in a California probate court proceeding relating to
23 his late wife’s estate, based on a false representation that he had a pending
24
25
     5
26   Szanto’s candor to the Central District of California ended there, as his filing
   falsely stated that his debt arose from the illness and death of his late wife, and also
27 that he was engaged in “meaningful talks” with Chase. Freed Dec. ¶ 37 & Ex. 36 at
28 1. Those statements are false.             15                           22-bk-01558-CL11
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 1 application for loan modification. Chase submits Szanto filed in that proceeding
 2 because his status as a vexatious litigant in California courts prevented him from
 3 filing a separate Complaint, and also because that court allowed him to proceed
 4 against the trustee only—without notice to Chase. The probate court recently
 5 recognized that its TRO has been dissolved. Freed Dec. ¶ 7 & Ex. 6. While Szanto
 6 has taken a frivolous appeal of a non-final order of the California probate court (and
 7 filed a motion seeking to stay foreclosure in the appeal), the California Court of
 8 Appeal has recognized the appeal is frivolous and stayed the appeal. Freed Dec. ¶ 9
 9 & Ex. 8.
10            (7)       Szanto filed this case—his fourth bankruptcy—less than two hours
11 after the Ninth Circuit denied his “emergency” request to stay the scheduled
12 June 13 foreclosure, and minutes after the District of Oregon denied a similar
13 request. The petition is facially incomplete and contains false attestations, as
14 discussed above. His recent ex parte filing seeking a declaration that the automatic
15 stay remains in place, Dkt. 14, confirms that he filed this bankruptcy solely to
16 obtain the automatic stay and frustrate foreclosure.6
17            The Court need not speculate that Szanto has used the courts as part of a
18 “scheme” to delay foreclosure. Each of Szanto’s bankruptcies has been closed,
19 dismissed, or converted due to his failure to follow Bankruptcy Code requirements
20 or court orders, or his intentional false statements. He has been in an uncured state
21 of default for thirteen years.
22            Third, as explained above, the scheme involves “multiple bankruptcy filings”
23 affecting the Property—four in total. Szanto’s scheme also involves an Adversary
24 Complaint, civil litigation against the trustee, and unrelated probate litigation. This
25 is a sufficient number of bankruptcy filings to warrant in rem relief, especially
26
27   6
    A ruling granting Chase’s requested relief would moot consideration of Szanto’s
28 motion for a declaration.               16                        22-bk-01558-CL11
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                                                                                  SAN FRANCISCO, CA 94111-6533
     11 U.S.C. §§ 362(d)(4) & 105(a)                                                      (415) 276-6500
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 1 where, as here, the latest bankruptcy is designed solely to acquire the automatic
 2 stay. See, e.g., In re O’Farrill, 569 B.R. 586, 592 (Bankr. S.D.N.Y. 2017) (granting
 3 in rem relief where debtor had not paid mortgage in over six years, and had filed
 4 two prior bankruptcy petitions, which were dismissed for failure to follow
 5 Bankruptcy Code requirements); Alakozai, 499 B.R. at 701 (in rem order issued in
 6 fourth bankruptcy case); In re 5th Street Parking LLC, 2020 WL 424576, *5
 7 (Bankr. S.D.N.Y. 2020) (“When debtors have exhibited a lack of effort in their
 8 bankruptcy proceedings and have instead engaged in serial filings to thwart the
 9 efforts of secured creditors exercising their rights under state law, courts have found
10 that these serial filings are evidence of bad faith and abuse of the bankruptcy
11 process.”); Aniel v. HSBC Bank USA, NA, 633 B.R. 368, 384 (N.D. Cal. 2021)
12 (affirming termination of stay for bad faith filing where debtor lacked any
13 reasonable path to reorganization and had not made a payment in twelve years).
14            Based on Debtor’s ongoing scheme to misuse the bankruptcy system to
15 thwart foreclosure, the Court should grant in rem relief under Section 362(d)(4).
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28                                                     17                           22-bk-01558-CL11
     MEMO ISO MOTION FOR COMFORT ORDER UNDER                                   DAVIS WRIGHT TREMAINE LLP
     11 U.S.C. § 362(j) AND FOR IN REM RELIEF UNDER                            505 MONTGOMERY STREET, SUITE 800
                                                                                  SAN FRANCISCO, CA 94111-6533
     11 U.S.C. §§ 362(d)(4) & 105(a)                                                      (415) 276-6500
                                                                                        Fax: (415) 276-6599
     4857-1739-0885v.4 0036234-000721
Case 22-01558-CL11              Filed 06/21/22    Entered 06/21/22 16:01:16   Doc 21      Pg. 23 of
                                                    24


 1                                                   CONCLUSION
 2            For the reasons stated above, the Court should (a) issue an order terminating
 3 the automatic stay for cause under 11 U.S.C. § 362(d)(1); and (b) award in rem
 4 relief under 11 U.S.C. § 362(d)(4).
 5            DATED this 21st day of June, 2022.
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 7
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                                                   Attorneys for JPMorgan Chase Bank, N.A.
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28                                                      18                           22-bk-01558-CL11
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     11 U.S.C. §§ 362(d)(4) & 105(a)                                                       (415) 276-6500
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Case 22-01558-CL11              Filed 06/21/22   Entered 06/21/22 16:01:16   Doc 21      Pg. 24 of
                                                   24


 1                                      CERTIFICATE OF SERVICE
 2      I certify that on the date shown below, I electronically filed the foregoing
 3 JPMORGAN CHASE BANK, N.A. AND JPMORGAN CHASE & CO.’S
   MOTION FOR COMFORT ORDER UNDER 11 U.S.C. § 362(j) AND FOR IN
 4 REM RELIEF UNDER 11 U.S.C. §§ 362(d)(4) with the Clerk of the Court using
 5 the CM/ECF system with service as follows:
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     BY U.S. MAIL
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   Peter Szanto
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     Attorney for United States Trustee
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     DATED: June 21, 2022.
18
19
                                                           John D. Freed
20                                                   John D. Freed (CA SBN 261518)
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                                                                                    22-bk-01558-CL11
     MEMO ISO MOTION FOR COMFORT ORDER UNDER                                   DAVIS WRIGHT TREMAINE LLP
     11 U.S.C. § 362(j) AND FOR IN REM RELIEF UNDER                            505 MONTGOMERY STREET, SUITE 800
                                                                                  SAN FRANCISCO, CA 94111-6533
     11 U.S.C. §§ 362(d)(4) & 105(a)                                                      (415) 276-6500
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